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 1 Douglas A. Plazak, State Bar No. 181709
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 2 REID & HELLYER APC
   3685 Main Street, Suite 300
 3 P.O. Box 1300
   Riverside, California 92502-1300
 4 Telephone: (951) 682-1771
   Facsimile: (951) 686-2415
 5
   Attorneys for Debtors
 6
 7
 8                   UNITED STATES BANKRUPTCY COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                             RIVERSIDE DIVISION
11 In re:                                    Case No. 6:18-bk-14772-WJ
12 David Wayne Hillyer and Kathleen          Chapter 7
   Annette Clelland
13                                           DECLARATION OF KATHLEEN
                                             ANNETTE CLELLAND IN SUPPORT
14                                           OF CONFIRMATION OF PLAN
15                                           Date:      11/22/2021
                                             Time:      11:00 a.m.
16                                           Courtroom: #304, Third Floor
                                                        3420 Twelfth Street
17                                                      Riverside, CA 92501
18
19 ////
20
     ////
21
     ////
22
23 ////
24
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 1 TO THE HONORABLE WAYNE JOHNSON, UNITED STATES
 2
     BANKRUPTCY JUDGE, ROD DANIELSON, CHAPTER 13 TRUSTEE AND
 3
     OTHER PARTIES IN INTEREST:
 4
 5           I, Kathleen Annette Clelland, declare as follows:

 6           1.     I am one of the Debtors.
 7           2.     I have personal knowledge of the facts set forth herein, and if called upon as a
 8
     witness to testify thereto, I could competently and truthfully do so.
 9
             3.     On June 5, 2018, my husband, David Wayne Hillyer and I, filed a Chapter 13
10
     proceeding. The hearing on plan confirmation has been continued numerous times and the hearing
11
12 on plan confirmation is on calendar for November 22, 2021, at 11:00 a.m.
13           4.     Pursuant to a Scheduling Order entered August 25, 2021 [Doc. #141], I submit this

14 declaration setting forth the status of plan payments since the date of the filing of our Chapter 13
15 proceedings.
16
             5.     Our first plan payment was due July 5, 2018. The procedure for making the first
17
     plan payment was to hand deliver to the Chapter 13 Trustee at the scheduled meeting of creditors.
18
19 The meeting was scheduled for July 18, 2018, at 9:00 a.m. The Chapter 13 Trustee (“Trustee”), our
20 attorney and we agreed on an amount to pay monthly in order to pay the arrearages on the first and
21 second mortgages and all other creditors who file a proof of claim 100% of their claimed amount.
22 Attached hereto as Exhibit 1 is a summary of the payments due from July 2018 through and
23
     including November 2021, as well as copies of the checks for February 2021 through November
24
     2021.
25
             6.     Prior to March 2020, we delivered our monthly payments to our attorney. Starting in
26
27 March 2020, due to Covid and limited hours at Reid & Hellyer, APC, we commenced sending our
28 payments directly to the Trustee payment center by overnight mail (no signature required).
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 1          7.      From July 2018 (date of filing) through and including November 2021, all payments

 2 scheduled to be paid to the Trustee have been paid. All payments after the creditor meeting in July
 3 2018 through and including February 2020, were delivered to our attorney’s office who then
 4
     forwarded the payments to the Trustee. Being filed concurrently with this declaration is a
 5
     declaration of Wendy M. Patrick, which sets forth the policy of Reid & Hellyer, APC as it relates
 6
     to transmitting payments prior to plan confirmation.
 7
 8          8.      As part of the Trustee’s recommendation for confirmation [Doc. #134], the Trustee

 9 stated that not all payments had been timely made. The Scheduling Order entered August 25, 2021,
10 [Doc. #141], ordered us to provide a detailed response to the allegation by the Trustee that we have
11 not made plan payments timely. Since we started making our payments directly to the Trustee in
12
     March 2020, our biggest challenge since the filing of our Chapter 13 occurred in December 2020.
13
     On December 23, 2020, at 10:57 a.m. Bridget Kelly, attorney for the Chapter 13 Trustee, contacted
14
15 our attorney by email seeking information about the missing payments and the $7,361.70
16 delinquency. Our attorney’s office reviewed the Trustee’s website, sent us the Trustee’s email, and
17 advised us that our October 2020 and December 2020 payments had not been made. We discovered
18 that the October 2020 payment had been sent but was lost in the mail. A claim was filed with our
19
     bank to locate the check and we were advised that it could take 90 days to resolve the issue. The
20
     December 2020 payment was delayed due to our daughter being exposed to Covid 19. Our family
21
     started the recommended quarantine time. As soon as that concluded, I purchased cashier’s checks
22
23 for the delinquency of $7,361.70. Those were posted to the Trustee’s website on December 20,
24 2020. Unfortunately, on December 23, 2020, the Chapter 13 Trustee filed a Motion to Dismiss and
25 Objection to Plan Confirmation [Doc. #120]. I request that the Court take Judicial Notice of Doc.
26 #121, Opposition to Chapter 13 Trustee’s Motion to Dismiss and Objection to Plan Confirmation;
27
     Declaration of Kathleen Annette Clelland; Declaration of Douglas A. Plazak and Declaration of
28
     Wendy M. Patrick as it relates to the method of payment transmittal.
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 1             9.    During our Chapter 13, we have taken the necessary steps to adjust our budget so

 2 that we accumulate our monthly plan payment to allow for it to be sent prior to the first of the
 3 month. This ensures that the payment is posted on or before the fifth of each month (the “Due
 4
     Date”).
 5
               10.   In March 2021, I was able to get the TFS payment system set up and scheduled the
 6
     April 2021 payment for withdrawal on April 1, 2021. Our bank notified me that the ACH Debit
 7
 8 occurred on April 2, 2021, instead of April 1, 2021, as scheduled. I then checked the “tfsbillpay”
 9 support site and learned that the payment had cleared the system and was on its way to the Trustee.
10 See. Exhibit 1.
11             11.   Our attorney’s office contacted the Trustee to discuss the delay. There were
12
     discussions regarding other methods of making the payment, i.e., continuing to pay as I had been
13
     doing, or looking into Moneygram as an option. Following the conversation, our attorneys sent an
14
15 email to the Trustee’s legal counsel to discuss the issue.
16             12.   As a result of the complications with the TFS system, I returned to purchasing a

17 cashier’s check and sending to the Trustee by overnight mail (no signature required).
18             13.   The payment due October 5, 2021, was sent out by overnight mail (no signature
19
     required) to the Trustee’s payment site on October 1, 2021. That payment posted to the Trustee’s
20
     Website on October 6, 2021. An explanation for the October 1, 2021, plan payment check is below.
21
               14.   In June 2021, our daughter sustained a sports injury, which required surgery and
22
23 then ten to twelve months of physical therapy. A portion of the therapy requires a copay. As a
24 result, we have incurred an additional $60.00 a week expense for physical therapy. We were able to
25 absorb this additional cost within our budget, however, on September 21, 2021, we incurred a car
26 repair of $900.00, which required us to use a portion of our accumulated funds for the October
27
     2021 plan payment. As a result, it was necessary to wait until my husband’s military pay was
28
     deposited on October 1, 2021, before I could purchase a cashier’s check for the full amount of the
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                           EXHIBIT 1
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David Wayne Hillyer and Kathleen Annette Clelland,
6:18-14772-WJ - Case Filed: June 5, 2018

 MONTHLY PAYMENT           DATE AND METHOD OF              DELIVERY METHOD
 DUE DATE                  PAYMENT

 July 5, 2018               07/18/2018/cashier’s check     Hand delivered to Trustee at
                                                           first meeting

 August 1, 2018            08/01/2018/cashier’s check -    Payment sent by Reid &
                           adjustment to plan payment      Hellyer, APC
                           after first meeting

 September 5, 2018         09/01/2018/cashier’s check      Payment sent by Reid &
                                                           Hellyer, APC

 October 5, 2018           10/05/2018/cashier’s check      Payment sent by Reid &
                                                           Hellyer, APC

 November 5, 2018          11/02/2018/cashier’s check      Payment sent by Reid &
                                                           Hellyer, APC

 December 5, 2018          11/30/2018/cashier’s check      Payment sent by Reid &
                                                           Hellyer, APC

 January 5, 2019           12/29/2018/cashier’s check      Payment sent by Reid &
                                                           Hellyer, APC

 February 5, 2019          02/01/2019/cashier’s check      Payment sent by Reid &
                                                           Hellyer, APC

 March 5, 2019             Motion to Dismiss and
                           Motion for Reconsideration
                           pending - Hold on Payments

 April 5, 2019             Motion to Dismiss and
                           Motion for Reconsideration
                           pending - 3/27/2019/cashier’s
                           check sent to R&H to hold
                           pending resolution of Motion
                           for Reconsideration

 May 5, 2019               05/06/2019/cashier’s check
                           sent to R&H to hold pending
                           resolution of Motion for
                           Reconsideration
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 MONTHLY PAYMENT           DATE AND METHOD OF               DELIVERY METHOD
 DUE DATE                  PAYMENT

 June 5, 2019              06/13/2019/cashier’s check       Payment sent by Reid &
                           from R&H - funds held in         Hellyer, APC
                           Trust; turned over pursuant to
                           Court Order

 July 5, 2019              07/03/2019/cashier’s check       Payment sent by Reid &
                           from R&H - funds held in         Hellyer, APC
                           Trust; turned over pursuant to
                           Court Order

 August 5, 2019            08/02/2019/cashier’s check       Payment sent by Reid &
                                                            Hellyer, APC

 September 5, 2019         09/05/2019/cashier’s check       Payment sent by Reid &
                                                            Hellyer, APC

 October 5, 2019           10/03/2019/cashier’s check       Payment sent by Reid &
                                                            Hellyer, APC

 November 5, 2019          11/01/2019/cashier’s check       Payment sent by Reid &
                                                            Hellyer, APC

 December 5, 2019          11/30/2019/cashier’s check       Payment sent by Reid &
                                                            Hellyer, APC

 January 5, 2020           01/03/2020/cashier’s check       Payment sent by Reid &
                                                            Hellyer, APC

 February 5, 2020          02/03/2020/cashier’s check       Payment sent by Reid &
                                                            Hellyer, APC

 March 5, 2020             02/28/2020/cashier’s check       Due to Covid and limited
                                                            hours of Reid & Hellyer,
                                                            APC, Debtors commenced
                                                            making payments directly by
                                                            overnight mail (no signature
                                                            required)

 April 5, 2020             04/01/2020/cashier’s check       Debtors making payments
                                                            directly by overnight mail (no
                                                            signature required)
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 MONTHLY PAYMENT           DATE AND METHOD OF             DELIVERY METHOD
 DUE DATE                  PAYMENT

                                                          Debtors making payments
                                                          directly by overnight mail (no
 May 5, 2020               05/01/2020/cashier’s check     signature required)

 June 5, 2020              06/24/2020/cashier’s check     Debtors making payments
                                                          directly by overnight mail (no
                                                          signature required)

 July 5, 2020              07/01/2020/cashier’s check     Debtors making payments
                                                          directly by overnight mail (no
                                                          signature required)

 August 5, 2020            07/20/2020/cashier’s check     Debtors making payments
                                                          directly by overnight mail (no
                                                          signature required)

 September 5, 2020         08/28/2020/cashier’s check     Debtors making payments
                                                          directly by overnight mail (no
                                                          signature required)

 October 5, 2020           10/03/2020/cashier’s check     Check lost - claim filed with
                                                          bank issuing cashier’s check.

 November 5, 2020          11/02/2020/cashier’s check     Debtors making payments
                                                          directly by overnight mail (no
                                                          signature required)

 December 5, 2020          12/23/2020/cashier’s check     Debtors making payments
                           12/24/2020/cashier’s check     directly by overnight mail (no
                                                          signature required)

 January 5, 2021           12/31/2020/cashier’s check     Debtors making payments
                                                          directly by overnight mail (no
                                                          signature required)

 February 5, 2021          01/23/2021/cashier’s check -   Debtors making payments
                           attached                       directly by overnight mail (no
                                                          signature required)

                                                          02/01/2021*

 March 5, 2021             02/23/2021/cashier’s check -   Debtors making payments
                           attached                       directly by overnight mail (no
                                                          signature required)
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 MONTHLY PAYMENT           DATE AND METHOD OF             DELIVERY METHOD
 DUE DATE                  PAYMENT

                                                          03/01/2021*

 April 5, 2021             04/02/2021/TFS - attached      04/08/2021 *; * *



 May 5, 2021               04/30/2021/cashier’s check -   Debtors making payments
                           attached                       directly by overnight mail (no
                                                          signature required)

                                                          05/05/2021*

 June 5, 2021              05/27/2021/cashier’s check -   Debtors making payments
                           attached                       directly by overnight mail (no
                                                          signature required)

                                                          06/02/2021*

 July 5, 2021              06/21/2021/cashier’s check -   Debtors making payments
                           attached                       directly by overnight mail (no
                                                          signature required)

                                                          06/29/2021*

 August 5, 2021            07/20/2021/cashier’s check -   Debtors making payments
                           attached                       directly by overnight mail (no
                                                          signature required)

                                                          07/28/2021*

 September 5, 2021         08/28/2021/cashier’s check -   Debtors making payments
                           attached                       directly by overnight mail (no
                                                          signature required)

                                                          09/03/2021*

 October 5, 2021           10/01/2021/cashier’s check -   Debtors making payments
                           attached                       directly by overnight mail (no
                                                          signature required)

                                                          10/06/2021*; **
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 MONTHLY PAYMENT                 DATE AND METHOD OF             DELIVERY METHOD
 DUE DATE                        PAYMENT

 November 5, 2021                10/27/2021/cashier’s check -   Debtors making payments
                                 attached                       directly by overnight mail (no
                                                                signature required)

                                                                11/02/2021*

*Pursuant to Chapter 13 Trustee’s Website.

** See explanation in Declaration.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3685 Main Street, Suite 300, Riverside, CA 92501
Mailing: P.O. Box 1300, Riverside, CA 92502-1300

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF KATHLEEN
ANNETTE CLELLAND IN SUPPORT OF CONFIRMATION OF PLAN
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/04/2021 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
stated below:

       Rod Danielson (TR) notice-efile@rodan13.com
       Nancy L Lee bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com
       Douglas A Plazak dplazak@rhlaw.com
       Manuel Quiogue mq@lundquistconsulting.com
       Valerie Smith claims@recoverycorp.com
       United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/04/2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

Honorable Wayne Johnson, United States Bankruptcy Judge, 3420 Twelfth Street, Riverside, CA 92501

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  11/04/2021                                       Wendy M. Patrick                             /s/ Wendy M. Patrick
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
